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                 Exhibit 1
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                        UNITED STATES DISTRICT COURT
15          NORTHERN DISTRICT OF CALIFORNIA, SAN FRANCISCO DIVISION
16                                                  CASE NO. 4:20-cv-3919-CW
17 IN RE COLLEGE ATHLETE NIL
   LITIGATION                                       DECLARATION OF SETH BEER IN SUPPORT OF
18
                                                    MOTION FOR ADMINISTRATIVE RELIEF TO BE
19                                                  ADDED TO THE OPT-OUT LIST
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                                                                    NO. 4:20-cv-3919-CW
                                      DECLARATION OF SETH BEER
     Case 4:20-cv-03919-CW            Document 795-1          Filed 04/14/25       Page 3 of 4




 1          I, Seth Beer, hereby declare as follows:

 2          1.      I am a former baseball player at Clemson University. I submit this declaration in

 3 support of my request to be added to the opt-out list for the proposed settlement in this case.

 4          2.      I am personally familiar with the facts set forth in this Declaration. If called as a

 5 witness, I could and would competently testify to the matters stated herein.

 6          3.      I played baseball at Clemson during the 2016 through 2018 seasons. In 2016, I was

 7 named the national freshman-of-the-year by multiple publications and was an All-American during all

 8 three seasons at Clemson.

 9          4.      I only recently learned about the proposed settlement in this case. I did not receive the

10 class notice in this case and did not otherwise learn about the proposed settlement until after the

11 January 31 deadline for opting out.

12          5.      Since my last year at Clemson in 2018, I have moved multiple times, so my address has

13 changed multiple times. The address that the administrator had was likely a stale one. Likewise, my

14 Clemson email address has been discontinued and I have no access to it, so the administrator likely

15 had a stale email address.

16          6.      Upon recently learning about the proposed settlement, I immediately took steps to opt

17 out because baseball players during my years are getting very little money out of this settlement, even

18 if they were All-Americans such as myself, and even if they played in front of several thousand people

19 on average during each game played (like at Clemson). I contacted an attorney to assist me with

20 opting out, and sent in a letter to the administrator formally requesting it.

21          7.      It was impossible for me to opt out by the deadline because I did not know about the

22 deadline. Under these circumstances, I ask that the Court honor my request and add me to the opt-

23 out list for the case.

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                                                         1                   NO. 4:20-cv-3919-CW
                                        DECLARATION OF SETH BEER
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 1         I declare under penalty of perjury that the foregoing is true and correct.

 2 Executed on April 14, 2025,

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                                                   Seth Beer
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                                       DECLARATION OF SETH BEER
